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9
                                      UNITED STATES DISTRICT COURT
10
                                    CENTRAL DISTRICT OF CALIFORNIA
11

12     MARTIN CONDE, individually, and on behalf of         Case No.: CV12-0413 RSWL (RZx)
13     all others similarly situated,

14                    Plaintiff,                            NOTICE OF VOLUNTARY DISMISSAL
                                                            WITHOUT PREJUDICE PURSUANT TO
15                    vs.                                   F.R.C.P. § 41(a)
16     OBESITY RESEARCH INSTITUTE, LLC; and
17     DOES 1-25, Inclusive,

18                    Defendants.

19

20            NOTICE IS HEREBY GIVEN that pursuant to Federal Rules of Civil Procedure § 41(a),
21     Plaintiff Martin Conde voluntarily dismisses this action without prejudice as to Defendant Obesity
22     Research Institute, LLC.
23

24     Dated: January 27, 2012                     NEWPORT TRIAL GROUP
                                                   A Professional Corporation
25                                                 Scott J. Ferrell

26
                                                   By:     /s/ Scott J. Ferrell
27                                                       Scott J. Ferrell
28                                                       Attorney for Plaintiff and the Class

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                            NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. § 41(a)
